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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

RONNIE PIERCE, AND                         §
CASAS DE LOS INDIOS, L.P.                  §
                                           §
V.                                         §         CIVIL ACTION NO. 4:17-CV-01413
                                           §
THE STANDARD FIRE INSURANCE                §
COMPANY                                    §

                        DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COMES NOW, The Standard Fire Insurance Company, the defendant in the

above entitled and numbered cause, and files this its notice of removal, and in support

thereof would respectfully show unto this Honorable Court as follows:

                                        I.
                                STATE COURT ACTION

      This case was initially filed in the 240th Judicial District Court of Fort Bend

County, Texas. The state court action is styled: Cause No. 17-DCV-240631; Ronnie

Pierce, and Casas De Los Indios, L.P. vs. The Standard Fire Insurance Company, in

the 240th Judicial District Court of Fort Bend County, Texas.

                                           II.
                                        PARTIES

      The plaintiff, Ronnie Pierce, is, upon information and belief, an individual citizen

and resident of Fort Bend County, Texas.

      The plaintiff, Casas De Los Indios, L.P., is, a Texas limited partnership with its

principal place of business in the State of Texas.
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      The defendant, The Standard Fire Insurance Company (“Standard Fire”), is a

Connecticut corporation with its principal place of business in the State of Connecticut.

                                          III.
                                     JURISDICTION

      This Court has jurisdiction over the subject matter of this cause, pursuant to 28

U.S.C. § 1332, because this is a civil action in which the matter in controversy exceeds

the sum or value of $75,000.00, exclusive of interest and costs, and is between citizens

of different states. Accordingly, this cause is removable pursuant to 28 U.S.C. § 1441

and § 1446.

                                          IV.
                                      TIMELINESS

      Standard Fire was served with process and the plaintiff’s original petition on April

24, 2017. Thirty days have not elapsed since Standard Fire was served with process.

Accordingly, pursuant to 28 U.S.C. § 1446, this notice of removal is timely and proper.

                                         V.
                                    ATTACHMENTS

      Pursuant to 28 U.S.C. § 1446(a), Local Rule 3, and Local Rule 81, the following

exhibits are attached hereto and incorporated herein by reference for all purposes:

      a. Exhibit A:    Civil action cover sheet;

      b. Exhibit B:    Copies of all executed processes in the case, if any;

      c. Exhibit C:    Copies of all pleadings asserting causes of action and all

                       answers to such pleadings;

      d. Exhibit D:    Copies of all orders signed by the state court judge, if any;

      e. Exhibit E:    A copy of the state court docket sheet;

      f. Exhibit F:    An index of matters being filed; and

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       g. Exhibit G:   A list of all counsel of record, including addresses, telephone

                       numbers, and parties represented.

                                       VI.
                              CONDITIONS PRECEDENT

       The defendant has tendered the filing fee required by the Clerk of the United

States District Court for the Southern District of Texas, Houston Division, along with this

notice of removal. A copy of this notice of removal is also being filed in the 240th

Judicial District Court of Fort Bend County, Texas, and all counsel of record are being

provided with complete copies.

                                        PRAYER

       WHEREFORE, PREMISES CONSIDERED, the defendant respectfully requests

that the above action, styled: Cause No. 17-DCV-240631; Ronnie Pierce and Casas De

Los Indios, L.P. vs. The Standard Fire Insurance Company, in the 240th Judicial District

Court of Fort Bend County, Texas, be removed to this Court.

                                                 Respectfully submitted,
                                                 ORGAIN BELL & TUCKER, LLP
                                                 P O Box 1751
                                                 Beaumont, TX 77704-1751
                                                 (409) 838-6412
                                                 (409) 838-6959 facsimile

                                                 /s/ Greg C. Wilkins
                                                 Greg C. Wilkins
                                                 State Bar No. 00797669
                                                 gcw@obt.com
                                                 Warren B. Wise
                                                 State Bar No. 24075299
                                                 wwise@obt.com

                                                 ATTORNEYS FOR DEFENDANT,
                                                 THE STANDARD FIRE INSURANCE
                                                 COMPANY


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                             CERTIFICATE OF SERVICE
       I do hereby certify that on the 8th day of May, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system and also forwarded it to all
known counsel of record by Certified Mail, Return Receipt Requested.



                                              /s/ Greg C. Wilkins        __________
                                                Greg C. Wilkins




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